                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          NO. 3:13-00097-11
                                              )          JUDGE SHARP
FLETCHER DENNING                              )


                                         ORDER

       The change of plea hearing scheduled for Wednesday, August 13, 2014, is hereby

rescheduled for Tuesday, August 12, 2014, at 2:30 p.m.

       It is so ORDERED.




                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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